                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
               v.                                    )       CASE NO. DNCW3:05CR277-3
                                                     )       (Financial Litigation Unit)
ROBERT D. MATHIESON,                                 )
                                                     )
and                                                  )
                                                     )
TRANSITOWNE WILLIAMSVILLE LLC                        )
dba TRANSITOWNE RESALE OF AMHERST,                   )
               Garnishee.                            )

                        ORDER OF CONTINUING GARNISHMENT

        THIS MATTER is before the Court on the Answer of Transitowne Williamsville LLC dba

Transitowne Resale of Amherst as Garnishee. On August 24, 2006, the Honorable Lacy H.

Thornburg sentenced Defendant to 12 months and one day incarceration for his conviction of

Conspiracy to Defraud the United States in violation of 18 U.S.C. §§ 371 and 1349. Judgment in

the criminal case was filed on September 11, 2006 (Docket No. 519). As part of that Judgment,

Defendant was ordered to pay an assessment of $100 and restitution of $153,166.00 to the victims

of the crime. Id.

        On January 25, 2012, the Court entered a Writ of Continuing Garnishment ("Writ") (Docket

No. 686) to Garnishee, Transitowne Williamsville LLC dba Transitowne Resale of Amherst

("Garnishee"). The United States is entitled to a wage garnishment of up to 25% of net income and

has satisfied the prerequisites set forth in 15 U.S.C. § 1673. Defendant was served with the Writ on

January 31, 2012. Garnishee was served with the Writ on February 2, 2012. Garnishee filed an

Answer on March 9, 2012 (Docket No. 693) stating that at the time of the service of the Writ,




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Garnishee had in their custody, control or possession property or funds owned by Defendant,

including non-exempt disposable earnings.

       IT IS THEREFORE ORDERED that an Order of Continuing Garnishment is hereby

ENTERED in the amount of $96,688.53 computed through January 19, 2012. Garnishee will pay

the United States 10% of Defendant's net earnings which remain after all deductions required by

law have been withheld, and 100% of all 1099 payments, and Garnishee will continue said payments

until the debt to the Plaintiff is paid in full, or until Garnishee no longer has custody, possession or

control of any property belonging to Defendant, or until further Order of this Court.

       Payments should be made payable to the United States Clerk of Court and mailed to the

Clerk of the United States District Court, 401 West Trade Street, Charlotte, NC 28202. In order to

ensure that each payment is credited properly, the following should be included on each check:

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       Plaintiff will submit this debt to the Treasury for inclusion in the Treasury Offset Program.

Under this program any federal payment Defendant would normally receive may be offset and

applied to this debt.



                                                   Signed: April 6, 2012




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